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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY



  IN RE INSULIN PRICING                  Civil Action No. 17-699 (BRM)(LHG)
  LITIGATION



     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ PARTIAL MOTION
    TO DISMISS THE SECOND AMENDED CLASS ACTION COMPLAINT




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                                         INTRODUCTION
           The motion filed by defendants Novo Nordisk Inc. (Novo) and Sanofi-

  Aventis U.S. LLC (Sanofi) to dismiss the second amended complaint1 should be

  denied in its entirety, with three exceptions.2 In their Second Amended Complaint

  (Complaint),3 plaintiffs allege that for over a decade, Novo and Sanofi fraudulently

  inflated the list prices of their analog insulin medications at the expense of patients

  whose lives depend on them. In exchange for preferred formulary positions, Novo

  and Sanofi artificially inflated their list prices so they could offer the nation’s

  largest pharmacy benefit managers (PBMs) bloated “rebates” without reducing

  their drugs’ true, net sales prices.

           The defendants’ motion to dismiss the RICO claim should be denied,

  because Section 1964 of RICO authorizes private plaintiffs to seek final injunctive

  relief, as two of the three Courts of Appeal to address that issue have held. See



      1
      Defs.’ Partial Mot. to Dismiss the Second Amended Class Action Complaint
  (Defs.’ Br.), ECF No. 263.
      2
       First, the plaintiffs agree that injunctive relief is not available under the
  Louisiana Unfair Trade Practices and Consumer Protection Law (LUTPA).
  Second, the plaintiffs acknowledge that they cannot be awarded damages for
  violation of the Minnesota Deceptive Trade Practices Act. (But the plaintiffs may
  seek damages violation of the Minnesota Prevention of Consumer Fraud Act. See
  Compl. ¶¶ 684–90.) Third, the plaintiffs acknowledge that the Court will dismiss
  their claim under the Washington Consumer Protection Act, which does not permit
  claims by indirect purchasers but reserve the right to appeal that dismissal.
      3
          See Plfs. Second Amended Class Action Compl., ECF No. 255.



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  Chevron Corp. v. Donziger, 833 F.3d 74, 139 (2d Cir. 2016); Nat’l Org. for

  Women v. Scheidler, 267 F.3d 687, 698 (7th Cir. 2001) (NOW), rev’d on other

  grounds, 537 U.S. 393 (2003). And apart from the three exceptions noted above,

  the defendants’ myriad challenges to the plaintiffs’ state-law claims lack merit.

                                          ARGUMENT

           The plaintiffs properly seek final injunctive relief under RICO.
           The defendants incorrectly argue that “RICO limits the availability of

  injunctive relief to actions brought by the federal government.” Defs.’ Br. at 5.

  Two of the three Courts of Appeals that have decided the issue have held that final

  injunctive relief is available in RICO actions brought by private plaintiffs. See

  Donziger, 833 F.3d at 139; NOW, 267 F.3d at 698. And those courts have

  explained why the Ninth Circuit erred in holding that final injunctive relief is not

  available to private plaintiffs. See Religious Tech. Ctr. v. Wollersheim, 796 F.2d

  1076 (9th Cir. 1986).4



      4
       The defendants cite a secondary authority for the erroneous proposition that
  “the ‘trend of decisions … is distinctly negative’ on the issue” of whether equitable
  relief is available under RICO. See Defs.’ Br. at 5 n.2 (quoting Gregory P. Joseph,
  CIVIL RICO: A DEFINITIVE GUIDE 261-62 (5th ed. 2018)). The Donziger defendants
  relied on that same quotation, to no avail. See Post-Trial Reply Memorandum of
  Steven R. Donziger, The Law Offices of Steven R. Donziger, and Donziger &
  Associates, PLLC, Case No. 11-CIV-0691 (LAK) (S.D.N.Y. Jan. 21, 2014), ECF.
  No. 1857 at 8, 19 (quoting Joseph treatise as stating that “the ‘trend of decisions’ is
  ‘distinctly negative’ on whether injunctive relief is available to private litigants
  under RICO”).



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           As the Supreme Court has explained, “[a]bsent the clearest command to the

  contrary from Congress, federal courts retain their equitable power to issue

  injunctions in suits over which they have jurisdiction.” Califano v. Yamasaki, 442

  U.S. 682, 705 (1979). And “[u]nless a statute in so many words, or by a necessary

  and inescapable inference, restricts the court’s jurisdiction in equity, the full scope

  of that jurisdiction is to be recognized and applied.” Amoco Prod. Co. v. Vill. of

  Gambell, AK, 480 U.S. 531, 542 (1987) (citation and internal quotation marks

  omitted).

           1.       Section 1964 of RICO authorizes final injunctive relief in actions
                    brought by private plaintiffs.
           As the Second and Seventh Circuits explain in Donziger and NOW, Section

  1964 of RICO authorizes private plaintiffs to seek final injunctive relief but not

  interim injunctive relief. Specifically, those courts explain that Section 1964

  authorizes the following equitable and legal relief: (1) both the Attorney General

  and private plaintiffs may seek final injunctive relief; (2) only the Attorney

  General, not private plaintiffs, may seek interim injunctive relief; and (3) only

  private plaintiffs, not the Attorney General, may seek damages.

           Those conclusions flow from the plain language of subsections (a), (b), and

  (c) of Section 1964:

                    (a) The district courts of the United States shall have
                    jurisdiction to prevent and restrain violations of section
                    1962 of this chapter by issuing appropriate orders,



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                    including, but not limited to: … imposing reasonable
                    restrictions on the future activities … of any person, …
                    making due provision for the rights of innocent persons.

                    (b) The Attorney General may institute proceedings
                    under this section. Pending final determination thereof,
                    the court may at any time enter such restraining orders or
                    prohibitions, or take such other actions … as it shall
                    deem proper.

                    (c) Any person injured in his business or property by
                    reason of a violation of section 1962 of this chapter may
                    sue therefor in any appropriate United States district
                    court and shall recover threefold the damages he sustains
                    and the cost of the suit, including a reasonable attorney’s
                    fee.…

  As Donziger explains, “subsection (a) gives the federal courts jurisdiction to hear

  RICO claims and sets out general remedies, including injunctive relief; subsection

  (b) makes it clear that the court, on the application of the Attorney General, has

  authority to grant temporary injunctive relief even before there is a final

  adjudication; and subsection (c) provides a private right of action for any person

  injured in his business or property by reason of a violation of § 1962.” 833 F.3d at

  138.5




      5
       See id. (“Subsection (a) itself neither states that any category of persons may
  not obtain relief that is within the powers granted to the federal courts nor specifies
  the persons in whose favor the courts are authorized to exercise the powers there
  granted. In our view, this means that Congress did not intend to limit the court’s
  subsection (a) authority by reference to the identity or nature of the plaintiff.”).



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           As Donziger further explains, “limitations as to who may obtain certain

  other types of relief are, as we interpret § 1964, spelled out in subsections (b) and

  (c).” Id. (emphasis added). For example, “because subsection (b) states that ‘[t]he

  Attorney General’ may seek restraining orders ‘[p]ending [a] final’ adjudication,

  we view such interim relief as available only to the United States, not to a private

  person. In contrast, we interpret § 1964(c) as not authorizing awards of treble

  damages or attorneys’ fees to the United States.” Id. Thus, “[w]hile subsections (b)

  and (c) limit the categories of plaintiffs to which the relief they respectively specify

  may be granted, we do not interpret those subsections as limiting the authorized

  relief to the types they mention, i.e., as excluding relief that the federal courts are

  authorized to grant under subsection (a).” Id. at 138–39. And the Seventh Circuit

  similarly explained that subsection (a) of section 1964 “grants the district courts

  jurisdiction to hear RICO claims and also sets out general remedies, including

  injunctive relief, that all plaintiffs authorized to bring suit may seek. Section

  1964(b) makes it clear that the statute is to be publicly enforced by the Attorney

  General and it specifies additional remedies, all in the nature of interim relief, that

  the government may seek. Section 1964(c) similarly adds to the scope of

  § 1964(a), but this time for private plaintiffs.” NOW, 267 F.3d at 696.

           Therefore, there is no merit to the defendants’ argument that the plaintiffs’

  claim for final injunctive relief under RICO should be dismissed.




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           2.       The defendants’ interpretation of Section 1964 yields the absurd
                    result that neither the Attorney General nor private plaintiffs
                    may seek the final injunctive relief authorized by subsection (a).
           The defendants’ analysis of Section 1964 is based on the flawed premise that

  in an action brought by the Attorney General, subsection (b) authorizes the court to

  award the “full range” of orders available to a court under subsection (a). Based on

  that flawed premise, the defendants contend that a court can grant injunctive relief

  only in actions brought by the Attorney General, not private plaintiffs. Specifically,

  the defendants contend:

                    Section 1964(a) grants district courts “‘jurisdiction to
                    prevent and restrain’” RICO violations “by issuing the
                    full range of ‘appropriate orders’ available to courts of
                    equity.” DOJ RICO Manual at 27 (quoting 18 U.S.C.
                    § 1964(a)). And although section 1964(a) does not state
                    who can seek such orders, section 1964(b) does: “[t]he
                    Attorney General may institute proceedings under this
                    section,” and thus a court can enter interim “restraining
                    orders” or take other actions “it shall deem proper” in a
                    case brought by the Attorney General.

  Defs.’ Br. at 7.6




      6
       The defendants rely on a 2007 manual issued by the Department of Justice.
  See Defs.’ Br. at 6 (citing U.S. DEP’T OF JUSTICE, CIVIL RICO: A MANUAL FOR
  FEDERAL ATTORNEYS 26-33 (2007)). The DOJ’s argument pre-dates Donziger and
  cannot withstand scrutiny, for the reasons set forth in NOW, Donziger and this
  brief.



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           The flaw in that argument is that subsection (b) does not authorize the

  Attorney General to seek the full range of injunctive relief—both interim and

  final—authorized by subsection (a). Instead, subsection (b) authorizes the Attorney

  General to seek only interim injunctive relief. Specifically, subsection (b) states

  that the “Attorney General may institute proceedings under this section. Pending

  final determination thereof, the court may at any time enter such restraining orders

  or prohibitions, or take such other actions, including the acceptance of satisfactory

  performance bonds, as it shall deem proper.” Id. at 6 (emphasis added).

           The Ninth Circuit in Wollersheim engaged in the same misinterpretation of

  subsection (b) as the defendants here when it stated that “[i]n contrast to part (b),

  there is no express authority to private plaintiffs to seek the equitable relief

  available under part (a).” 796 F.2d at 1082 (emphasis in original). To reiterate,

  subsection (b) does not permit the Attorney General to seek all of the equitable

  relief available under subsection (a) but instead authorizes only interim injunctive

  relief. And the district court in the 1989 decision cited by the defendants also

  misinterpreted Section 1964, stating that “[a]though § 1964(c) does not expressly

  limit the plaintiff’s remedies, that Congress made an express provision for an

  equitable remedy in suits brought by the government and simultaneously declined

  to make a similar provision for private actions carries with it the strong suggestion

  that no private equitable remedy was intended.” Curley v. Cumberland Farms




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  Dairy, Inc., 728 F. Supp. 1123, 1137 (D.N.J. 1989). In fact, subsection (b) suggests

  only that private plaintiffs may not seek interim injunctive relief. But both the

  Attorney General and private plaintiffs may seek final injunctive relief under

  subsection (a).

           As Donziger explained, “[t]o read the subsections after subsection (a) as

  limiting the nature of the relief that may be granted to the persons identified in

  those subsequent subsections would mean that although the Attorney General can

  be granted an injunction ‘[p]ending’ the final adjudication of the case, she could

  not get any other relief such as a permanent injunction.” 833 F.3d at 139. Donziger

  further explained that the “most sensible reading of subsection (b), in our view, is

  that the interim relief identified in that subsection is available only to the United

  States, which is relief in addition to that which it may be granted under subsection

  (a). By parity of reasoning, we read subsection (c) as meaning that only a ‘person’

  may sue for money damages, but that that right is in addition to the relief that the

  court has power to grant under subsection (a).” Id. But under the faulty analysis of

  the defendants here, subsection (a) would authorize courts to award final injunctive

  relief, but neither the Attorney General nor private plaintiffs could seek such final

  relief. As a result, subsection (a) would be mere surplusage in authorizing final

  injunctive relief. See Free Speech Coal., Inc. v. Att’y Gen. of U.S., 677 F.3d 519,




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  539 (3d Cir. 2012) (“where possible, courts are to give effect to every clause and

  word of a statute and be reluctant to treat statutory terms as mere surplusage”).

           Finally, there is no merit to the defendants’ argument that its interpretation

  of Section 1964 “is bolstered by the fact that Congress modeled RICO’s civil

  remedies provision on provisions of antitrust law that similarly authorize damages,

  but not injunctive relief, for private litigants.” Defs.’ Br. at 9. In NOW, the Seventh

  Circuit rejected the defendants’ identical argument that “differences between the

  language of RICO and the language of section 4 of the Clayton Act (on which

  RICO was based) demand the inference that no private right to injunctive relief

  exists under RICO.” 267 F.3d at 699. The Court first explained that “the mere fact

  that the Clayton Act spreads its remedial provisions over a number of different

  sections of the U.S. Code, and RICO does not, adds little to our understanding of

  either statute.” Id. at 700. The Court then stated that “[m]ore importantly, the

  Supreme Court regularly treats the remedial sections of RICO and the Clayton Act

  identically, regardless of superficial differences in language. See, e.g., Klehr v.

  A.O. Smith Corp., 521 U.S. 179, 188–89 (1997) (applying Clayton Act rule for

  accrual of cause of action to RICO); Holmes v. SIPC, 503 U.S. 258, 267 (1992)

  (applying proximate cause rule to RICO).” Id. Therefore, “[s]ince the Court has

  already determined that litigants other than the Attorney General may obtain broad

  injunctive relief under the Clayton Act, see California v. American Stores Co., 495




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  U.S. 271 (1990), cases like Klehr and Holmes indicate that we ought to adopt the

  same interpretation with respect to RICO.” Id.

           3.       Legislative history is irrelevant, because the plain meaning of
                    Section 1964 authorizes injunctive relief in this action, and in any
                    event does not support the defendants’ argument.
           The defendants’ argument that legislative history supports its reading of

  Section 1964, see Defs.’ Br. at 8–9, is incorrect for two independent reasons. First,

  “Legislative history has never been permitted to override the plain meaning of a

  statute.” S.H. ex rel. Durrell v. Lower Merion Sch. Dist., 729 F.3d 248, 259 (3d

  Cir. 2013). Here, the plain meaning of Section 1964 is that private litigants may

  seek final (but not interim) injunctive relief, and the defendants’ argument to the

  contrary leads to the absurd result that no party could seek final injunctive relief

  even though it is authorized by subsection (a). And “when the statute’s language is

  plain, the sole function of the courts—at least where the disposition required by the

  text is not absurd—is to enforce it according to its terms.” Official Comm. of

  Unsecured Creditors of Cybergenics Corp. ex rel. Cybergenics Corp. v. Chinery,

  330 F.3d 548, 556 (3d Cir. 2003) (en banc) (citation and internal quotation marks

  omitted).7



      7
       See also Bd. of Trs. of IBT Local 863 Pension Fund v. C & S Wholesale
  Grocers, Inc., 802 F.3d 534, 541–42 (3d Cir. 2015) (“Because we disagree that the
  statute is ambiguous, we are not at liberty to examine the legislative history and the
  PBGC letter.”) (footnote omitted).



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           Similarly in NOW, the Seventh Circuit stated that “[o]ur study of Supreme

  Court decisions since the 1986 Wollersheim opinion convinces us that the approach

  of the Ninth Circuit (which relied almost exclusively on the legislative history of

  RICO to reach its result, as opposed to the actual language of the statute) no longer

  conforms to the Court’s present jurisprudence, assuming for the sake of argument

  that it was a permissible one at the time.” 267 F.3d at 695. As the Seventh Circuit

  then explained, “[i]n interpreting the remedial provisions of the RICO statute, our

  inquiry begins with the statute’s text, and, if the text is unambiguous, it ends there

  as well.” Id. Therefore, the legislative history cited by the defendants cannot

  override the plain meaning of Section 1964 that private plaintiffs may seek final

  injunctive relief.

           Second, the legislative history cited by the defendants does not support their

  argument in any event. The defendants contend that “[i]nitial versions of the

  legislation expressly authorized a private injunctive remedy” but “Congress

  dropped those provisions.” Defs.’ Br. at 8. Those versions would have authorized

  private plaintiffs to seek both interim and final injunctive relief.8 Therefore,

  dropping that provision is wholly consistent with the enactment of Section 1964,




      8
      See Wollersheim, 796 F.2d at 1084 (“Representative Steiger’s proposal, like
  those in the rejected Senate bills, provided explicitly for a private injunctive
  remedy under section 1964(a).”).



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  which authorizes private plaintiffs to seek only final injunctive relief, not the full

  range of injunctive relief authorized by subsection (a).

           For the same reason, the defendants’ argument is not supported by its

  assertion that “shortly after enacting RICO, [Congress] considered a bill that would

  have authorized ‘injunctive actions by private persons’ under RICO,” but it “never

  became law.” Defs.’ Br. at 8–9. As the Supreme Court has explained, that bill

  “would have authorized the United States itself to sue for damages and to intervene

  in private damages actions, and it would have further permitted private actions for

  injunctive relief.” Agency Holding Corp. v. Malley-Duff & Assocs., Inc., 483 U.S.

  143, 155 (1987). Once again, the fact that Congress did not pass that bill is wholly

  consistent with the interpretation of Section 1964 by the Donziger and NOW

  courts: (1) Section 1964 does not authorize the United States to sue for damages,

  but the proposed amendment would have changed that; and (2) Section 1964

  allows private plaintiffs to seek only final injunctive relief, but the proposed

  amendment would have “further permitted private actions for injunctive relief[,]”

  id., by allowing them to seek both interim and final injunctive relief. Tellingly,

  neither of the cases relied on by the defendants for their legislative history

  argument—Wollersheim and Curley—recognized that Congress’s failure to pass




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  the two bills cited by the defendants here is wholly consistent with Section 1964’s

  authorization for private plaintiffs to seek only final injunctive relief.9

           Finally, after those decisions were rendered, the Supreme Court and Third

  Circuit repeatedly have rejected arguments based on legislative history of failed

  legislation. For example, in Lawson v. FMR LLC, 571 U.S. 429, 454 (2014), the

  defendant argued that “legislative events subsequent to Sarbanes–Oxley’s

  enactment show that Congress did not intend to extend § 1514A’s protections to

  contractor employees.” The Supreme Court held that “[w]e can easily dismiss

  FMR’s invocation of a failed bill from 2004, … which would have amended

  § 1514A explicitly to cover employees of investment advisers and affiliates.” Id. at

  454 n.16. The Court explained that “‘[f]ailed legislative proposals are a particularly

  dangerous ground on which to rest an interpretation of a prior statute.’” Id.

  (quoting United States v. Craft, 535 U.S. 274, 287 (2002)). The Court then held

  that “[w]here, as here, the proposed amendment amounted to six lines in a 51–page

  bill that died without any committee action, its failure is scarcely relevant to




      9
       The defendants cite two district court decisions that provide no analysis but
  instead merely cite Curley. See Futterknecht v. Thurber, 2015 WL 4603010, at *4
  (D.N.J. July 30, 2015) (“[T]he federal RICO statutes do not provide a private right
  of action for injunctive relief. Curley.…”); Johnston Dev. Grp., Inc. v. Carpenters
  Local Union No. 1578, 728 F. Supp. 1142, 1146 (D.N.J. 1990) (“Resolution of the
  instant motions does not involve injunctive relief under RICO, which makes no
  provision for private equitable relief in any event. Curley.…”) (dictum).



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  Congress’ intentions regarding a different bill enacted two years earlier.” Id.

  Similarly here, rejection of a proposed bill that contained numerous provisions is

  scarcely relevant to Congress’ intentions regarding the bill enacted as RICO two

  years earlier, in 1970, which by its plain meaning authorizes private plaintiffs to

  seek final injunctive relief. Numerous decisions by the Supreme Court and the

  Third Circuit similarly reject the use of failed legislative proposals to interpret a

  statute.10 And in any event, as explained above, rejection of the two bills cited by

  the defendants is fully consistent with Section 1964’s authorization of final (but

  not interim) injunctive relief in RICO actions by private plaintiffs.




      10
        See, e.g., Cent. Bank of Denver, N.A. v. First Interstate Bank of Denver, N.A.,
  511 U.S. 164, 186–87 (1994) (rejecting argument that § 10(b) of 1934 Securities
  Act does not cover aiding and abetting because “in 1957, 1959, and 1960, bills
  were introduced [but not passed] that would have amended the securities laws to
  make it ‘unlawful … to aid, abet, counsel, command, induce, or procure the
  violation of any provision’ of the 1934 Act”); F.T.C. v. Wyndham Worldwide
  Corp., 799 F.3d 236, 247 n.6 (3d Cir. 2015) (“Wyndham also points to a variety of
  cybersecurity bills that Congress has considered and not passed. ‘[S]ubsequent
  legislative history … is particularly dangerous ground on which to rest an
  interpretation of a prior statute when it concerns … a proposal that does not
  become law.’”) (quoting Pension Benefit Guar. Corp. v. LTV Corp., 496 U.S. 633,
  650 (1990)); In re Visteon Corp., 612 F.3d 210, 231 (3d Cir. 2010) (“the best
  inference to be drawn from the subsequent legislative history relied on by
  Appellees is that Congress chose not to act because the ‘existing legislation already
  incorporated the offered change’”) (quoting Pension Benefit Guar. Corp., 496 U.S.
  at 650); Pontarelli v. U.S. Dep’t of the Treasury, 285 F.3d 216, 229 (3d Cir. 2002)
  (rejecting “the notion that Congress’s failure to pass the SAFE bill illustrates that it
  wanted felons to be able to regain their firearms is inconsistent with legislative
  history of subsequent actions”).



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            Claims relating to additional insulins should not be dismissed.
            The Second Amended Complaint adequately alleges that the defendants’

  fraudulent spread-scheme applies equally to their newer products: Tresiba (Novo

  Nordisk), Fiasp (Novo Nordisk), and Basaglar (Eli Lilly). Just as the plaintiffs did

  for the other medications listed in their Complaint—for which the defendants

  concede their factual allegations are sufficient—the plaintiffs provide the list prices

  of the new medications and allege that their net prices are far lower.11 Thus, the

  defendants’ spread scheme applies equally to Tresiba, Fiasp, and Basaglar, and the

  plaintiffs have rightfully included these three new medications in their Complaint.

            In the opening paragraph of their Second Amended Complaint, the plaintiffs

  explain that the analog insulins at issue in the remainder of the Complaint are

  Humalog, Basaglar, Fiasp, Novolog, Levemir, Tresiba, Apidra, Lantus, and

  Toujeo.12 The plaintiffs then describe the fraudulent scheme, alleging at all times

  that this scheme applies to all of the defendants’ “analog insulins,” including

  Tresiba, Fiasp, and Basaglar. In their “Claims for Relief,” the plaintiffs, again,

  specifically define the term “analog insulins” to include Eli Lilly’s Humalog and

  Basaglar, Novo Nordisk’s Fiasp, Levemir, Novolog, and Tresiba, and Sanofi’s




      11
           See Compl. ¶¶ 316-334.
      12
           See id. ¶ 1.



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  Apidra, Lantus, and Toujeo.13 Thus, contrary to the defendants’ representations,14

  the plaintiffs do allege that a spread between list and net price exists for Fiasp,

  Basaglar, and Tresiba. Every time the Complaint alleges that the defendants’ have

  fraudulently increased the spread between the list and net prices of their analog

  insulins, that allegation covers Fiasp, Basaglar, and Tresiba.

            The defendants argue that their pricing of Tresiba, Fiasp, and Basaglar do

  not fit the facts of the plaintiffs’ alleged scheme. To do so, they point out that the

  list prices of these new medications have remained “relatively constant” since they

  entered the market, unlike the list prices of their other medications, which have

  increased in “lock-step” over the course of the past decade.15

            This argument also misrepresents the facts in the plaintiffs’ Complaint.

  Figures 10 (p. 82), 13 (p. 86), and 14 (p. 87) demonstrate that the defendants have

  raised the list prices of Basaglar, Tresiba, and Fiasp—they have not remained

  constant.16 And Figures 19 (p. 94), and 21 (p. 96) show that the defendants have

  been doing so at roughly the same time and pace as the other insulins.17 Thus, the




      13
           See id. ¶ 384.
      14
           See Defs.’ Br. at 11-12.
      15
           Defs.’ Br. at 11-12.
      16
           Compl. ¶¶ 317-318.
      17
           Id. ¶ 321.



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  defendants are engaging in the exact same unlawful misconduct with the newer

  insulins as they are with the older ones.

            Further, the defendants’ argument misses the point. The misconduct alleged

  here is that the defendants publish list prices that bear no relationship to the true

  prices of these analog insulins. It does not matter that Fiasp, Basaglar, and Tresiba

  are newer drugs, without the same decade of list-price increases behind them. The

  fact that less time has passed since the introduction of these drugs does not make

  their pricing any less fraudulent. What matters is this: the defendants are reporting

  vastly inflated list prices for these newer insulins in the exact same way they have

  for their older analog insulins.

            Perhaps recognizing that the pricing misrepresentations—not the lock step

  behavior—is the fraud the plaintiffs allege, the defendants argue that the plaintiffs’

  factual allegations for the newer drugs are not as robust as their allegations for the

  older ones.18 In short, the defendants fault the plaintiffs’ Complaint for lacking

  graphics on the spread between Basaglar, Tresiba, and Fiasp’s net and list prices.

  But, as the defendants well know, the plaintiffs do not have access to these drugs’

  net prices—the defendants keep this information secret. The plaintiffs are able to

  present such spread graphics only where the defendants themselves release this




      18
           Defs.’ Br. at 12.



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  information (which they have not). The plaintiffs’ Complaint provides a detailed

  description of the defendants’ fraudulent scheme and alleges that the defendants

  have included their newer insulins in this scheme. The Federal Rules do not require

  the plaintiffs to depict this allegation graphically.

           Finally, the plaintiffs note that the defendants have never objected to the

  plaintiffs’ inclusion of Toujeo in the Complaint. Toujeo is also a newer analog

  insulin, without the decade-long history of list price increases. The plaintiffs’

  allegations for Toujeo mirror theirs for Basaglar, Tresiba, and Fiasp.19 Thus, the

  defendants’ concession that the plaintiffs’ allegations with respect to Toujeo are

  sufficient undermines their position that those for Basaglar, Tresiba, and Fiasp are

  deficient.

           Most of the state-law claims challenged by the defendants should not be
           dismissed.
           The defendants contend that numerous state-law claims should be dismissed

  or that certain relief is not available. The defendants’ arguments lack merit, with

  three exceptions. First, the plaintiffs agree that injunctive relief is not available

  under the Louisiana Unfair Trade Practices and Consumer Protection Law




      19
       Compare Compl. ¶ 317 (Basaglar), id. ¶ 318 (Tresiba and Fiasp), to id. ¶ 319
  (Toujeo).



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  (LUTPA). See Defs.’ Br. at 18–19.20 Second, the plaintiffs acknowledge that they

  cannot be awarded damages for violation of the Minnesota Deceptive Trade

  Practices Act. See id. at 19.21 Third, the plaintiffs acknowledge that the Court will

  dismiss their claim under the Washington Consumer Protection Act (WCPA),

  which does not permit claims by indirect purchasers.22

           1.       Arizona
           The defendants incorrectly argue that the claim under the Arizona Consumer

  Fraud Act (ACFA) must be dismissed “because plaintiffs are indirect purchasers,

  as this Court held in dismissing similar ACFA claims in the MSP Recovery

  matter.” See Defs.’ Br. at 13. The defendants rely on MSP Recovery Claims v.

  Sanofi Aventis U.S. LLC, 2019 WL 1418129, at *18 (D.N.J. Mar. 29, 2019), in

  which this Court stated, “[u]nder the ACFA, a ‘subsequent purchaser is not within

  the class of consumers intended to be protected by the implied private cause of

  action[.]’ Sullivan v. Pulte Home Corp., 290 P.3d 446, 454 (Ariz. Ct. App. 2012),

  vacated in part on other grounds, 306 P.3d 1 (Ariz. 2013). Plaintiffs do not contest


      20
     As discussed below, the plaintiffs disagree that their claim for damages under
  LUTPA should be dismissed.
      21
        The defendants, however, do not contend that damages are unavailable for the
  plaintiffs’ claim based on violation of the Minnesota Prevention of Consumer
  Fraud Act. See Compl. ¶¶ 684–90.
      22
       The plaintiffs respectfully contend that they are not indirect purchasers and
  reserve the right to appeal dismissal of the WCPA claim and the RICO damages
  claim.



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  Defendants’ construction of Arizona law but merely argue they are not ‘subsequent

  purchasers’ and that Defendants are ‘hid[ing] under the shield of their delivery

  method.’ (ECF. No. 75 at 37.)”.

           Unlike the plaintiffs in MSP Recovery, the plaintiffs here contest the

  defendants’ construction of the ACFA, which in fact allows claims by indirect

  purchasers. In Watts v. Medicis Pharmaceutical Corp., 365 P.3d 944, 947 (Ariz.

  2016), the Arizona Supreme Court held that “the CFA does not require a direct

  merchant-consumer transaction to support a patient’s statutory claim against a drug

  manufacturer.” The Court explained that “the statute does not expressly require a

  direct merchant-consumer transaction.” Id. at 953. Thus, the plaintiff “alleged an

  actionable claim under the CFA” by alleging “that Medicis affirmatively

  misrepresented Solodyn by stating that ‘[t]he safety of using [Solodyn] longer than

  12 weeks has not been studied and is not known,’ even though it knew (as

  Medicis’s full prescribing informational material states) that taking the drug for

  longer than twelve weeks can cause drug-induced lupus.” Id. Similarly here, the

  plaintiffs allege a valid claim, even if they are indirect purchasers.23


      23
        In light of Watts, the decision by the court of appeals in Sullivan is not good
  law to the extent it held that indirect purchasers may not recover under the AFCA.
  And Sullivan did not bar the plaintiffs’ claims in any event. See In re Fluidmaster,
  Inc., 149 F. Supp. 3d 940, 960 (N.D. Ill. 2016) (“[Sullivan] is not directly on point
  here. In Sullivan, there was a clearly definable transaction that could give rise to a
  claim under the ACFA: i.e., the home builder’s sale of the home to the original
  home buyer. But that sale was a simple, two-step transaction. Here, the chain of


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           2.       California
           The defendants incorrectly argue that the claim for restitution under the

  California Unfair Competition Law (UCL) should be dismissed. See Defs.’ Br. at

  13-15. They erroneously contend that restitution is not available because they

  “have not ‘acquired’ the difference between point-of-sale prices and net prices

  from plaintiffs. The point-of-sale price is paid to the dispensing pharmacies and

  plaintiffs’ own allegations confirm that defendants receive only the ‘net price’ for

  their insulins.” Id. at 14-15.

           Contrary to the defendants’ argument, a UCL defendant need not directly

  acquire money from the plaintiff in order for restitution to be awarded. Section

  17203 states that the “court may make such orders or judgments … as may be

  necessary to restore to any person in interest any money or property, real or

  personal, which may have been acquired by means of such unfair competition.” In

  Clayworth v. Pfizer, Inc., 233 P.3d 1066 (Cal. 2010), the California Supreme Court

  held that the pharmacy plaintiffs could seek restitution under section 17203 from

  manufacturers that did not directly acquire money from the pharmacies. As the

  Supreme Court stated, “[t]o distribute their pharmaceuticals, Manufacturers depend

  on a network of wholesalers and retailers. Pharmacies acted as retailers for


  sale is more complex, where the manufacturer uses various intermediaries (e.g.,
  home improvement stores, plumbers, etc.) to get the product to its final destination
  (i.e., consumers).”).



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  Manufacturers’ drugs and thus had indirect business dealings with Manufacturers.

  (See Shersher v. Superior Court (2007) 154 Cal.App.4th 1491, 1499–1500, 65

  Cal.Rptr.3d 634 [indirect purchases may support UCL standing].) They lost

  money: the overcharges they paid.… Finally, that loss was the result of an unfair

  business practice: Pharmacies paid more than they otherwise would have because

  of a price-fixing conspiracy in violation of state law.” Id. at 1087.

           In Shersher, which Clayworth cited with approval, the court explained that

  “in appropriate circumstances, the plaintiff in a UCL action may obtain restitution

  from a defendant with whom the plaintiff did not deal directly.” Shersher, 154 Cal.

  App. 4th at 1499. Shersher rejected Microsoft’s argument that the plaintiff lacked

  standing under the UCL because the plaintiff “lost any ownership interest in his

  money once he used it to purchase Microsoft’s product from a retailer.” Id. at

  1500. The court held that the UCL “requires only that the plaintiff must once have

  had an ownership interest in the money or property acquired by the defendant

  through unlawful means.” Id.

           Similarly, in Troyk v. Farmers Grp., Inc., 171 Cal. App. 4th 1305, 1338

  (Cal. Dist. Ct. App. 2009), the court rejected the defendants’ argument that

  “restitution cannot be awarded against them because the service charges were paid

  directly to Prematic and not to either of [defendants].” (emphasis in original). The

  court held that “although the class members did not pay the service charges




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  directly to either FGI or FIE, the trial court could have properly inferred from the

  undisputed facts that FGI and FIE received a benefit from those service charge

  payments (which FIE and FGI required) even though they did not directly receive

  money.” Id. at 1340. See also Diaz v. First Am. Home Buyers Prot. Corp., 541 F.

  App’x 773, 776 (9th Cir. 2013) (“California courts do not categorically bar the

  recovery of restitution [under the UCL] by a plaintiff who paid a third party rather

  than paying the defendant directly.”).24

           3.       Colorado and Utah
           The defendants erroneously contend that the claim under the Colorado

  Consumer Protection Act (CCPA) should be dismissed “to the extent that plaintiffs

  seek monetary damages because the CCPA does not permit class action claims

  seeking such relief.” See Defs.’ Br. at 15. Similarly, the defendants incorrectly

  argue that the claim under the Utah Consumer Sales Practices Act (UCSPA)

  should be dismissed to the extent that plaintiffs seek monetary damages “because

  the UCSPA does not permit class action claims seeking such relief except under

  narrow circumstances that do not exist here.” Defs.’ Br. at 20.




      24
        Accord, In re Ditropan XL Antitrust Litig., 529 F. Supp. 2d 1098, 1103 (N.D.
  Cal. 2007) (rejecting argument that “because Plaintiffs, as indirect purchasers, did
  not pay any money directly to Alza, Plaintiffs cannot recover restitution under the
  UCL”).



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           The defendants’ arguments should be rejected for three independent reasons.

  First, whether a state-law damages bar applies in federal court should be addressed

  at the class certification stage. For example, in In re Volkswagen “Clean Diesel”

  Marketing, Sales Practices, & Products Liability Litigation, 349 F. Supp. 3d 881,

  920 (N.D. Cal. 2018), Volkswagen argued in its motion to dismiss that “Plaintiffs’

  claims under Utah’s Consumer Sales Practices Act are limited because, although

  the complaint seeks ‘statutory damages,’ the Act limits damages that can be sought

  in class actions to ‘actual damages.’ Utah Code Ann. § 13-11-19(4)(a).” As the

  court explained, “[w]hether these state-law limits on class actions apply in federal

  court depends on (1) whether they conflict with Rule 23, (2) if they do conflict,

  whether the application of Rule 23 would ‘abridge, enlarge, or modify any

  substantive right’ in violation of the Rules Enabling Act, 28 U.S.C. § 2072(b), and

  (3) if they do not conflict, whether they are part of state substantive law or

  procedural law.” Id. (citing Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins.

  Co., 559 U.S. 393, 398 (2010); id. at 417 (Stevens, J., concurring in part)). The

  court then held that it would “not make these determinations at this stage. VW’s

  arguments focus on whether Plaintiffs can pursue class claims under certain state

  consumer laws, not on whether the claims themselves are well pled. Only the

  second question is at issue in a Rule 12(b)(6) motion to dismiss. The Court will




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  therefore wait until the class certification stage to address whether Mississippi’s

  and Utah’s class action limits apply.” Id.25

           Second, the defendants’ argument should be rejected even if addressed now,

  because they do not mention, let alone analyze, Shady Grove. See In re Dealer

  Mgmt. Sys. Antitrust Litig., 362 F. Supp. 3d 510, 554 (N.D. Ill. 2019) (“[W]hether

  the federal procedural rule allowing class actions (i.e., Rule 23) trumps the state-

  law bar on class actions under the CCPA depends on the two-step analysis



      25
        Accord, Sergeants Benevolent Ass’n Health & Welfare Fund v. Actavis, PLC,
  2018 WL 7197233, at *52 (S.D.N.Y. Dec. 26, 2018) (“Courts that have examined
  the class action damages bar under the UCSPA have tended to defer the question
  of whether an action meets the statutory prerequisites until later stages of the
  case.”); In re Gen. Motors LLC Ignition Switch Litig., 339 F. Supp. 3d 262, 332
  n.63 (S.D.N.Y. 2018) (“Similar to its Colorado and Ohio counterparts, the Utah
  CSPA states that ‘[a] consumer who suffers loss … may recover, but not in a class
  action, actual damages or $2,000, whichever is greater, plus court costs.’ Utah
  Code Ann. § 13-11-19 (emphasis added). The Court defers to another day whether
  the provision limits Plaintiffs’ relief here.”); Falk v. Nissan N. Am., Inc., 2018 WL
  2234303, at *7 (N.D. Cal. May 16, 2018) (“Defendant contends that monetary
  damages are unavailable for class actions under Colorado’s CPA.… The Court
  finds this damages issue to be premature to decide at this early stage. As in
  MyFord Touch, Defendant’s concerns can be addressed on a motion for class
  certification.”); In re Volkswagen Timing Chain Prod. Liab. Litig., 2017 WL
  1902160, at *24 (D.N.J. May 8, 2017) (“Defendant’s argument that the Colorado
  Georgia, and South Carolina Plaintiffs’ claims must be dismissed because those
  states do not recognize classwide claims for damages is unpersuasive.… Defendant
  does not attack the sufficiency of the class allegations in the Complaint, but rather
  directs its argument as to whether the action could proceed as a class action in
  general. Hence, Defendant does not address the sufficiency or insufficiency of the
  claims it seeks to dismiss.… Hence, the claim may proceed as a class action and
  any attacks as to whether class certification is appropriate can be raised at the class
  certification phase.”).



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  established by the Supreme Court in Shady Grove.… Without the benefit of

  thorough briefing on this issue, the Court declines to rule at this time on whether

  Plaintiffs’ CCPA claim for damages is barred under Shady Grove.”).

           Third, the defendants are incorrect on the merits. See Andren v. Alere, Inc.,

  2017 WL 6509550, at *22 (S.D. Cal. Dec. 20, 2017) (“This Court also finds the

  reasoning in In re Hydroxycut persuasive and concludes that a representative action

  for monetary relief is not barred under Georgia or Colorado law.”) (citing In re

  Hydroxycut Mktg. & Sales Practicies Litig., 299 F.R.D. 648 (S.D. Cal. 2014)).

  Similarly, courts have held under Shady Grove that Georgia’s similar bar on class

  actions seeking damages under its Fair Business Practices Act does not apply in

  federal court.26 Finally, two cases cited by the defendants are easily distinguished,

  because neither even mentions Shady Grove. See David v. Volkswagen Grp. of

  Am., Inc., 2018 WL 1960447, at *7 (D.N.J. Apr. 26, 2018); Martinez v. Nash Finch

  Co., 886 F. Supp. 2d 1212, 1218–1219 (D. Colo. 2012).27




      26
        See Amin v. Mercedes-Benz USA, LLC, 301 F. Supp. 3d 1277, 1292 (N.D.
  Ga. 2018) (“Federal Rule 23 does not ‘abridge, enlarge or modify any substantive
  right’ of the parties under the GFBPA.”); In re FCA US LLC Monostable Elec.
  Gearshift Litig., 355 F. Supp. 3d 582, 600 (E.D. Mich. 2018) (“Georgia’s statutory
  class action prohibition for consumer suits falls on the ‘procedural’ side of the line
  drawn by Justice Stevens and therefore does not run afoul of the Rules Enabling
  Act.”).
      27
       The defendants also cite Miller v. Corinthian Colls., Inc., 769 F. Supp. 2d
  1336, 1342 (D. Utah 2011), in which the court had no reason to address Shady


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           4.       Georgia
           The defendants incorrectly assert that the claim under the Georgia Uniform

  Deceptive Trade Practices Act (UDTPA) should be dismissed “because the alleged

  pricing ‘scheme’ is not actionable under that statute.” Defs.’ Br. at 15. The

  defendants rely on a case that they claim is “directly on point.” Id. at 16 (citing

  Cox v. Athens Reg’l Med. Ctr., 631 S.E.2d 792 (Ga. Ct. App. 2006).

           But the defendants ignore the Georgia Supreme Court’s rejection of Cox. In

  Bowden v. The Medical Center, Inc., 773 S.E.2d 692, 694 (Ga. 2015), the plaintiff

  alleged that her hospital bill “of $21,409.59 was grossly excessive and did not

  reflect the reasonable value in the community of her treatment” and sued for

  “violation of Georgia’s version of the Uniform Deceptive Trade Practices Act

  (‘UDTPA’), OCGA §§ 10–1–370 to 10–1–375.” The plaintiff sought discovery as

  to the “reasonableness of [the hospital’s] charges for her care.” Id. at 695. The

  court of appeals held that she was not entitled to the discovery, “citing a series of

  its precedents beginning with Cox v. Athens Regional Medical Center, Inc., 279

  Ga. App. 586, 631 S.E.2d 792 (2006), which hold—in the summary judgment

  context—that charging uninsured patients higher rates than insured patients does




  Grove, because the plaintiffs alleged “that certain practices of Defendant violate
  the administrative rules authorized under the UCSPA.” (footnote omitted).



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  not constitute breach of contract, unjust enrichment, or a violation of the UDTPA.”

  Id. at 698.

           The Supreme Court reversed, stating that the “Court of Appeals appears to

  have concluded, based on its Cox line of cases, that if Bowden signed a contract to

  pay for her treatment, she would be precluded from challenging the reasonableness

  of the charges reflected in the hospital’s lien.” Id. The Supreme Court explained

  that “the general proposition that hospital charges are automatically ‘reasonable’

  whenever the patient (or someone authorized to act on her behalf) has signed a

  contract agreeing to pay those charges is incorrect, because the contract price for

  goods and services does not necessarily equal their reasonable value.” Id. Here, as

  in Bowden, the plaintiffs allege that the insulin prices charged by the defendants

  are “grossly” inflated and were “not reasonable.” See, e.g., Compl. ¶¶ 3, 11, 13-14,

  338, 491.28




      28
        Two more cases cited by the defendants pre-date and are overruled by
  Bowden. See Morrell v. Wellstar Health Sys., Inc., 633 S.E.2d 68, 73 (Ga. Ct. App.
  2006) (“The fact that the ‘chargemaster’ rates for medical care charged to the
  Morrells pursuant to the contracts exceeded the rates Wellstar Health charged for
  medical care covered by insurance and Medicare/Medicaid benefits, even
  assuming the Morrells were unaware of the pricing difference, does not establish a
  violation of the UDTPA. Cox, 279 Ga. App. at 592(2), 631 S.E.2d 792.”); HLD
  Enters., Inc., v. Michelin N. Am., Inc., 2004 WL 2095739, at *4 (N.D. Ga. June 29,
  2004) (holding that UDTPA was intended only to prevent sellers from “luring
  customers with dubious representations that prices have been ‘slashed’ by large
  percentages” is wrong in light of Bowden).



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           5.       Louisiana
           The defendants erroneously argue that the claim under the Louisiana Unfair

  Trade Practices and Consumer Protection Law (LUTPA) should be dismissed

  “because plaintiffs do not allege that defendants acted with the requisite ‘specific

  purpose of harming the competition.’” Defs.’ Br. at 17. In Andretti Sports

  Marketing Louisiana, LLC v. Nola Motorsports Host Committee, Inc., 147 F. Supp.

  3d 537, 566 (E.D. La. 2015), the court rejected that argument, holding that LUTPA

  “does not provide that in order for there to be a violation under LUTPA there must

  be an intent to harm competition. Accordingly, the Court denies the motion to

  dismiss Andretti’s LUTPA claim on the grounds that Andretti has not pled a

  specific intent to harm competition.” Similarly, in In re Chrysler-Dodge-Jeep

  EcoDiesel Marketing, Sales Practices, & Products Liability Litigation, 295 F.

  Supp. 3d 927, 1019 (N.D. Cal. 2018), the defendants “cited to a case in which a

  court stated that ‘[a] defendant’s motivation is a critical factor; the actions must

  have been taken with the specific purpose of harming the competition.’” (Citation

  omitted.) But the court declined to dismiss the LUTPA claim on that basis, because

  “that statement regarding motivation or purpose seems to be driving at the point

  that the LUTPA does not prohibit sound business practices, the exercise of

  permissible business judgment, or appropriate free enterprise transactions.” Id.

  (citation and internal quotation marks omitted). Similarly, numerous other courts




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  have allowed claims by consumers, without any showing that the defendant’s

  motivation was to harm competitors.29

           Moreover, as in Andretti, the defendants here “have not pointed to any

  factually analogous cases where courts have dismissed LUTPA claims for failure

  to allege that the acts were committed with the purpose of causing harm to

  competition.” 147 F. Supp. 3d at 565. The defendants cite IberiaBank, in which the

  plaintiff bank sued a former employee who went to work for a competitor. Because

  the parties were competitors, the court had no reason to address whether “specific

  purpose to harm competition” must be shown when the plaintiff is a consumer, not

  a competitor.30 And the other cases cited by the defendants do not support their




      29
        See, e.g., Moser v. Navistar Int’l Corp., 2019 WL 977871, at *1 (E.D. Tex.
  Feb. 28, 2019) (denying defendants’ motion for summary judgment on LUTPA
  claim where plaintiffs alleged that “the trucks sold or leased by Defendants
  suffered extraordinary and unacceptable rates of breakdowns”); Patz v. Sureway
  Supermarket, 2018 WL 6651141, at *2 (E.D. La. Dec. 19, 2018) (denying
  defendant’s motion for summary judgment under LUTPA where plaintiffs brought
  “a housing discrimination claim under the FHA, alleging Defendants terminated
  their lease because Vivian Patz was pregnant”); Rincon v. Owens Collision &
  Repair Serv. Ctr., LLC, 2018 WL 4520384, at *6 (La. Ct. App. Sept. 21, 2018)
  (“we find no manifest error in the trial court’s conclusion that Owens’ act of
  charging Mr. Rincon for repairs to his vehicle that were not actually performed
  was done knowingly, rather than negligently, and amounted to an unfair and
  deceptive trade practice” under LUTPA).
      30
           Defs.’ Br. at 17-18.



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  argument, because the defendants in those cases did not engage in wrongful

  conduct at all, regardless of whether competition was harmed. 31

           6.       Mississippi
           The defendants next incorrectly contend that the claim under the Mississippi

  Consumer Protection Act (MCPA) should be dismissed “due to plaintiffs’ failure

  to comply with the MCPA’s pre-suit dispute resolution requirement.” Defs.’ Br. at

  19. Mississippi’s requirement that the parties avail themselves of specified ADR

  programs conflicts with Fed. R. Civ. P. 16 (which empowers district courts to

  consider and “take appropriate action” to facilitate settlement discussions and use

  of “special procedures” for dispute resolution) and, in a class action, with Rule 23

  (which imposes specific procedural requirements to settle proposed class claims).

  See, e.g., Prado v. Allstate Tex. Lloyd’s, 2016 WL 9414132 (W.D. Tex. Nov. 16,

  2016) (under Shady Grove, state-law mediation requirements do not apply in

  diversity action, because 28 U.S.C. § 652 and Fed. R. Civ. P. 16 govern dispute



      31
       See Monroe v. McDaniel, 207 So. 3d 1172, 1180 (La. Ct. App. 2016) (“the
  record does not support a finding that Defendants’ conduct in forming a new
  company constituted fraud, misrepresentation, deception or other unethical
  conduct”); Ronnoco Coffee, LLC v. Westfeldt Bros., Inc., 2018 WL 902202, at *12
  (E.D. Mo. Feb. 15, 2018) (“the Court is left to conclude that Ronnoco was acting
  simply to protect its own financial interests, as permitted by Louisiana law”);
  CaseExperts, LLC v. CompStar Sys., Inc., 2010 WL 4553926, at *6 (W.D. La.
  Nov. 3, 2010) (“The Court cannot find that a customer’s decision to hire an expert
  to develop a software program in response to a large fee increase is ‘unethical,
  oppressive, unscrupulous, or substantially injurious.’”) (citation omitted).



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  resolution)32; Essex Ins. Co. v. Levy Props., Inc., 2013 WL 12122119, at *1 (N.D.

  Tex. May 7, 2013) (“[T]he procedure to mediate pursuant to [Texas Insurance

  Code] section 541.161 is more procedural in nature than substantive and conflicts

  with the Federal Rules of Civil Procedure which allow for a court to manage cases

  and order mediation of a case as determined by the Court.”).33

            The defendants’ argument is inconsistent with Third Circuit precedent that

  interprets Shady Grove. In Knepper v. Rite Aid Corp.,34 the defendant argued that

  allowing an opt-out class action for state-law violations to proceed alongside a

  separately-filed Fair Labor Standards Act (FLSA) opt-in action would violate the

  Rules Enabling Act, because section 216(b) of FLSA bars opt-out classes. The

  Third Circuit disagreed.35 “Under the plurality’s view [in Shady Grove], any

  supposed substantive purpose underlying § 216(b) is irrelevant, and we need only

  determine whether Rule 23 ‘really regulates procedure,’ which the Court has




      32
        See 28 U.S.C. § 652(a) (“each district court shall, by local rule adopted under
  section 2071(a), require that litigants in all civil cases consider the use of an
  alternative dispute resolution process at an appropriate stage in the litigation”).
      33
        The cases cited by the defendants do not discuss Shady Grove and thus do not
  support dismissal. See Humphrey v. CitiBank NA, 2013 WL 5407195, at *6 (N.D.
  Miss. Sept. 25, 2013); Mayberry v. Bristol-Meyers Squibb Co., 2009 WL 5216968,
  at *6 (D.N.J. Dec. 30, 2009).
      34
           675 F.3d 249 (3d Cir. 2012).
      35
           Id. at 265.



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  already concluded it does.”36 And “[u]nder the concurrence’s view [in Shady

  Grove], the regulation of class relief under § 216(b) is procedural, and class

  certification does not implicate the Rules Enabling Act.”37 As a result, under

  “either view,” the defendant’s argument “fail[ed].”38

            So too here: any supposed, substantive purpose of the state-law requiring

  pre-suit mediation is irrelevant, because Rule 16 and 28 U.S.C. § 652 really

  regulate the procedure for alternative dispute resolution (the Shady Grove plurality

  view) and do not implicate the Rules Enabling Act (the Shady Grove concurrence

  view). As a result, the defendants’ argument fails.

            7.      West Virginia
            Finally, the defendants incorrectly argue that the claim under the West

  Virginia Consumer Credit and Protection Act (WVCCPA) should be dismissed

  “because that statute does not apply to cases involving the purchase of prescription

  drugs.” Defs.’ Br. at 22 (citing White v. Wyeth, 705 S.E.2d 828 (W. Va. 2010).).

  The plaintiffs in White alleged that “defendants used unfair and deceptive practices

  in promoting HRT prescription drug products to doctors and patients for treatment

  of serious menopausal disorders by using misleading statements in advertising,



      36
           Id.
      37
           Id.
      38
           Id.



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  marketing and labeling of the products. The complaint does not allege that any of

  the named Respondents or their doctors ever received, read or relied upon the

  alleged misrepresentations.” 705 S.E.2d 828, 831 (W. Va. 2010). The Court

  answered “Yes” to the following certified question: “Does the ‘as a result of’

  language in Section 46A–6–106(a) of the West Virginia Consumer Credit and

  Protection Act require proof of reliance on alleged affirmative misrepresentations

  in order to satisfy the element of causation in private causes of action brought

  pursuant to the Act?” Id. at 838.

           White is inapposite. The Court held that “we are simply not convinced that a

  causal connection exists within the context of prescription drug purchases.

  Prescription drug cases are not the type of private causes of action contemplated

  under the terms and purposes of the WVCCPA because the consumer can not and

  does not decide what product to purchase.” Id. at 837–38. The Court explained that

  “the high degree of federal regulation of prescriptive drug products attenuates the

  effect product marketing has on a consumer’s prescriptive drug purchasing

  decision.” Id. at 838.

           Here, in contrast, the plaintiffs do not allege that the defendants made

  misleading statements about insulin, causing physicians to prescribe it or plaintiffs

  to purchase it. Instead, the plaintiffs allege that the defendant manipulated the price

  of insulin. And there is no federal regulation of the pricing of insulin. As the FDA




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  itself states, “the FDA has no legal authority to investigate or control the prices set

  by manufacturers, distributors and retailers.”39 See also Del Greco v. CVS Corp.,

  354 F. Supp. 2d 381, 387 (S.D.N.Y. 2005) (“the FDA does not regulate drug

  prices, nor does it involve itself with the marketing agreements entered into by

  pharmaceutical companies—its primary concern is public health and safety”),

  aff’d, 164 F. App’x 75 (2d Cir. 2006). Therefore, White does not establish a

  precedent as to whether consumers may sue for manipulative pricing of drugs, as

  opposed to suing for fraudulent misrepresentations as to the safety or efficacy of a

  drug. As the West Virginia Supreme Court has explained, “‘[o]biter dicta or strong

  expressions in an opinion, where such language was not necessary to a decision of

  the case, will not establish a precedent.’” W. Va. Dep’t of Transp., Div. of

  Highways v. Echols, 827 S.E.2d 45, 53 (W. Va. 2019) (citation omitted). See also



      39
        U.S. FOOD & DRUG ADMIN., Frequently Asked Questions about CDER,
  https://www.fda.gov/about-fda/center-drug-evaluation-and-research/frequently-
  asked-questions-about-cder#16 (last visited June 6, 2019). This Court may take
  judicial notice of that statement, which is admissible under the hearsay exception
  in Fed. R. Evid. 803(8). See United States v. Iverson, 818 F.3d 1015, 1021–22
  (10th Cir. 2016) (taking judicial notice of information on FDIC website and
  explaining that “government websites fall within the exception for public
  records”); Lorraine v. Markel Am. Ins. Co., 241 F.R.D. 534, 551 (D. Md. 2007)
  (“Given the frequency with which official publications from government agencies
  are relevant to litigation and the increasing tendency for such agencies to have their
  own websites, Rule 902(5) provides a very useful method of authenticating these
  publications.’ When combined with the public records exception to the hearsay
  rule, Rule 803(8), these official publications posted on government agency
  websites should be admitted into evidence easily.”).



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  Kanawha Cty. Pub. Library Bd. v. Bd. of Educ. of Cty. of Kanawha, 745 S.E.2d

  424, 434 (W. Va. 2013) (“it does not follow that an issue neither asserted by the

  parties nor addressed in this Court’s opinions is binding.…”).

           Finally, the other cases cited by the defendants are inapposite. One case

  involved drug safety, which is regulated by the FDA, but drug safety is not at issue

  in this action. See Wamsley v. LifeNet Transplant Servs. Inc., 2011 WL 5520245, at

  *11 (S.D. W. Va. Nov. 10, 2011) (“There is no principled difference between

  carving out an exception for liability under the WVCCPA for a physician who

  determines which drug to prescribe and a physician who decides which human

  blood or tissue products are medically appropriate and safe.”). And in the other

  case, In re Generic Pharmaceuticals Pricing Antitrust Litigation, 2019 WL

  653854, at *23 (E.D. Pa. Feb. 15, 2019), the court did not address the distinction

  between pricing and drug safety as it relates to White but instead applied White

  without analysis; therefore, it provides no support for the defendants’ argument.

                                         CONCLUSION
           The plaintiffs request the Court deny the partial motion to dismiss the

  Second Amended Class Action Complaint in its entirety, with the three exceptions

  noted in footnote 2, above.




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  Dated: June 14, 2019       Respectfully submitted,

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                              CERTIFICATE OF SERVICE
           I, James E. Cecchi, certify that, on this date, this document was served by

  filing it on the court’s CM/ECF system and additionally via electronic mail to all

  counsel of record.

  Dated: June 13, 2019                               /s/ James E. Cecchi
                                                     James E. Cecchi




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